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                                                        July 25, 2008

  Hon. Denis R. Hurley
  Senior United States District Judge
  United States Court
  Eastern District of New York
  100 Federal Plaza
  Central Islip, New York 11722


         Re:     U.S. v. Andre Staley, (U.S. v. Amissah, et al.), 01 Cr. 1295(DRH)



  Dear Judge Hurley:

         This letter is to respectfully request a reduction of the sentence of Mr. Staley by
  two Guideline levels. As the Court is aware, The United States Sentencing Commission
  enacted Amendment Number 706 which applied retroactively as of March 3, 2008. This
  Amendment allows for a two-level decrease in a sentence that involves crack cocaine.

          In Mr. Staley’s case, which involved crack-cocaine, he was sentenced by Your
  Honor to 121 months on February 13, 2004. With a two-level reduction of this sentence
  based upon the above respectful application, I believe Mr. Staley would be released from
  custody. I urge this Court to re-sentence Mr. Staley to the time he has served thus far in
  prison.

                                         Respectfully submitted,
                                                /s/

                                         James C. Neville, Esq.


  Cc:    Clerk of the Court (Via Electronic Filing)




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